                 Case 20-10611-BLS            Doc 126       Filed 07/27/23     Page 1 of 3




                       IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

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In re:                                                  :     Chapter 15
                                                        :
SPECTRA PREMIUM INDUSTRIES INC., :                            Case No. 20-10611 (BLS)
et al., 1                                               :     (Jointly Administered)
                                                        :
          Debtors in a Foreign Proceeding.              ;
                                                        :     Ref. D.I. 122
                                                        :
------------------------------------------------------- x

                                  ORDER CLOSING CHAPTER 15 CASES

         Upon consideration of the motion (the “Motion”) 2 of Ernst & Young Inc., in its capacity as the

court-appointed monitor and duly authorized foreign representative (in such capacity, the “Foreign

Representative”), as defined by section 101(24) of title 11 of the United States Code (the “Bankruptcy

Code”), of the above-captioned debtors (collectively, the “Debtors”), in insolvency proceedings

commenced under Canada’s Companies’ Creditors Arrangement Act, R.S.C. 1985, c. C-36, as

amended (the “CCAA”) pending before the Superior Court, sitting in the Commercial Division for the

district of Montréal (the “Canadian Court”), File No. 500-11-058116-209 (the “Canadian

Proceedings”), pursuant to sections 105, 350(a), 1517(d) and 1518(1) of the Bankruptcy Code, Rule



1
    The Debtors in these Chapter 15 cases, along with the last four digits of each Debtor’s federal identification
    number, are: 4406443 Canada Inc. (fka Spectra Premium Industries Inc.) (4016); 4406443 Premium
    Holdings (USA) Corp. (fka Spectra Premium Holdings (USA) Corp.) (7133); 4406443 Premium (USA)
    Corp. (fka Spectra Premium (USA) Corp.) (9447); and 4406443 Premium Properties (USA) Corp. (fka
    Spectra Premium Properties (USA) Corp.) (7618). The registered office of 4406443 Canada Inc. (fka
    Spectra Premium Industries Inc.), the Debtors’ ultimate corporate parent company, was located at 1 Place
    Ville Marie in Montréal, Québec, Canada, H3B 4M4, Suite 4000. The Debtors were collectively managed
    from the Spectra Group’s corporate headquarters in Boucherville, Québec, Canada.
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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
    Motion.




{1280.001-W0071354.}      CPAM: 33593108.5
                 Case 20-10611-BLS         Doc 126      Filed 07/27/23     Page 2 of 3




5009 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 5009-2 of the

Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), for entry of an order closing the Debtors’ Chapter 15 cases

(the “Chapter 15 Cases”); and the accompanying Certification Regarding Filing and Service of Motion

to Close the Chapter 15 Cases Docket No.124; and upon consideration of the Final Report and the

Certification of No Objection; and the Court finding that (a) the Court has jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order of Reference from the United

States District Court for the District of Delaware, dated February 29, 2012, (b) this matter is a core

proceeding within the meaning of 28 U.S.C. § 157(b)(2), and (c) notice of the Motion was due and

proper under the circumstances; and it appearing that the relief requested in the Motion is in the best

interest of the Debtors, their creditors and other parties-in-interest; and after due deliberation, and good

and sufficient cause appearing therefor:

         IT IS HEREBY ORDERED, ADJUDGED and DECREED that:

         1.       The Motion is GRANTED as set forth herein.

         2.       The Final Report is approved.

         3.       The Chapter 15 Cases are hereby closed.

         4.       This Order is without prejudice to the rights of any party to seek to reopen the Chapter

15 Cases for cause pursuant to section 350(b) of the Bankruptcy Code.

         5.       Any orders heretofore entered by this Court in the Chapter 15 Cases shall survive the

entry of this Order.

         6.       The clerk of this Court shall enter this Order on the dockets of the Chapter 15 Cases

and the dockets shall be marked as “Closed.”




{1280.001-W0071354.}                              -2-
               Case 20-10611-BLS         Doc 126      Filed 07/27/23   Page 3 of 3




        7.      Notwithstanding anything to the contrary, the terms and conditions of this Order shall

be immediately effective and enforceable upon its entry.

        8.      This Court shall retain jurisdiction with respect to its prior orders in the Chapter 15

Cases, the enforcement, amendment or implementation of this Order or requests for any additional

relief in or related to the Chapter 15 Cases.




Dated: July 26th, 2023                           BRENDAN L. SHANNON
Wilmington, Delaware                             UNITED STATES BANKRUPTCY JUDGE




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